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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: : MDL NO. 13~2436

TYLENOL (ACETAMINOPHEN)

MARKETING, SALES PRACTICE : Philadelphia, Pennsylvania
AND PRODUCTS LIABILITY : May 20, 2014
LITIGATION : 10:18 a.m.

TRANSCRIPT OF CASE MANAGEMENT CONFERENCE
BEFORE THE HONORABLE LAWRENCE F. STENGEL
UNITED STATES DISTRICT JUDGE

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1 (The following was heard in open court at
2 10:18 a.m.)
3 THE cOURT: seed morning.
4 ALL: Good morning, Your Honor.
5 THE COURT: Please he seated. We have a full

6 agenda today for our case management conference. Thank
7 you for your cooperative efforts in putting this agenda
5 together.

9 I want to just note for our record who is

19 present. Lawrence Berman, Clay Millig and Gill Gaynorl
0 good morning, for the plaintiffs' steering committee.

12 Christy Jones, Allison Jones, good morning. David

13 Abernathy and Margaret O’Neil, right? I always do

14 that, don't I? Madeline Sherry, good morning. Stephen
15 Finley and Brandon Goodman, right?

16 ALL: Good morning, Your Honor.

17 THE COURT: And is David Buchanan available
18 on telephone or are we calling him later?

19 MR. BERMAN: He should be listening at this
20 point, Your Honor.

m THE COURT; ekay.

22 MR. BERMAN: And then when the hearing

23 concludes to move onto the other issue we’ve arranged
24 for a new call in and Mr. Buchanan will be on that line

25 and Mrs Weinkowitz is expected to be on that line as

 

 

 

 

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well.

THE COURT: Perfect. So, Mr. Buohanan is on
the line now?

MR. BERMAN: He should be, yes, Your Honor.

THE COURT: Okay. And is Mr. Weinkowitz on
the line as well?

MR. BERMAN: He is, Your Honor, yes.

THE COURT: Okay. Very good. Okay.

MR. BERMAN: Of course, they are in listen
only mode at this point.

THE COURT: Okayl Very well.

MR. BERMAN: Thank you.

THE COURT: I think'it makes sense for us to
address the first item on the agenda last. So, we will
begin with item number two, which is the plaintiffs’
steering committee letter seeking substitution of a
case. Actually one of the Bellwether cases, right?
Good morning, Mr. Gaynor.

MR. GAYNOR: Good morning, Judge. Nice to be
with you this morning. Your Honor, quite simply at the
outset of the Bellwether selection by the plaintiffs’
steering committee I made an error in identifying one
of those cases. The cases which the committee had
selected were the Hague {ph) case, the Spiel (ph} case

and the Hayes case. What was communicated was the

 

 

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Blake case, the Spiel case and the Hague case.

When this error came to light I did contact
Mr. Hughes and just to put this in context, and Mr.
Hughes was very understanding, in fact, he had some
'very kind things to say to me which I appreciated.

Shortly before the date that we were to
identify the Bellwether cases my mother had a stroke
and it was a serious one. 87 years of age and has had
dimensia for a couple of years. So, it was a major
setback for us.

With the Tylenol work, other obligations and
that basically not only filled my plate, but my plate
was a bit overflowing. Mr. Hughes was very
understanding and directed me to Ms. Jones, Ms. Allison
Jones, as she was more in charge of the Bellwether
selection than he, and offered to pass along what I had
told to him.

Sof similarly the next day I did contact Ms.
Jones. She, likewise, was very courteous and very
understanding. That said, she obviously had to speak
with her clients and I understood as well that she
would have to do as her clients directed and as they
thought best.

So, a couple days following that the

objection was filed to our replacement. So, I want to

 

 

 

 

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1 go over essentially the substance of those positions.

2 Your Honor, the first thing is that it was an

3 inadvertent error. It was a mistake on my part.

4 lt was brought to the attention, if you will,
5 of the defendants at a point very, very early, almost

B pre»discovery if you will. There was a reference in

7 their letter that they had employed a vendor to obtain
8 records of those cases identified in the Bellwether

9 selection process.

10 But, clearly too as was appropriate for them
H to do, they had already employed the vendor and

12 obtained the records, begun review of the records and
13 so forth in order for them to make their own selections
14 of the Bellwether cases.

15 And according to, I think it is item four in
16 our agenda, they had obtained roughly 80 records prior
17 to our identification of the Bellwether cases. Whether
18 Blake was among those or not is really not important,

19 it is just to say that that process was begun well

20 before April Bth.

m Secondly, the Blake case, to the extent that
22 time and effort and energy have been expended to obtain
23 those records, it is not a waste. That case very well
24 could come up in this process.

25 lt is not a case to be dismissed by any

 

 

 

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1 means, and so we would submit that those efforts, to

2 the extent they took place before identification were
3 not wasted efforts.

4 To that end as well, Your Honor, no

5 depositions have yet been taken of the Bellwether

6 plaintiffs. The letter did reference, that is, the

7 letter from Ms. Jones, Ms. Christy Jones, that at that
B point they had not received dates.

9 But, again, a lot is going on and I am quite
10 sure it was an inadvertent oversight on her part that
H earlier in the day we had, in fact, provided multiple
12 dates for four of the six plaintiffs. All three of

13 those identified by the PSC, one of the plaintiffs

M- identified by the defense.

15 The.fifth, or I will say selection number two
m of the defendants, it was communicated to Ms. Davidson
1? is that plaintiff, very elderly, very poor health,

18 wheelchair bound and was not going to be available this
m month or June, but perhaps later, but not at the

20 present.

m We also communicated that on the sixth case,
22 and that was Mr. and Ms. Burton, which was another

23 defense selection. While we hadn't obtained the dates
24 at that point we felt we would soon and, in fact, we

25 did. And the next day on the 16th we provided those

 

 

 

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1 dates.

2 So, five of the six plaintiffs dates have

3 been provided but, however, those depositions have not
4 yet been taken. Again, we would submit that that all

5 demonstrates clearly that there is not significant harm
5 as a result of what was my mistake.

7 The letter also referenced that the Blake

8 case was filed outside the statute of limitations.

9 Once again, Your Honor, there is an awful lot going on
m getting ready for trial in New Jersey and so forth.

0 end so once again I think it was completely without

12 intent and was oversight on the part of the defense,

13 but the Blake case had, in fact, been filed timely,

14 To put it in context, Ms ~» l am sorry, Ms.

15 Hayes was filed timely. Ms. Hayes died August of 2010
16 in the State of Alabama. Alabama has a two-year

17 statute of limitations. So, the statute would run in
18 August of 2012. The claim was timely filed in the

19 Court of Common Pleas of Philadelphia County on January
20 12th of 2012.

m So, consequently that claim was filed since
22 seven plus months before the statute ran. So, again, I
23 think it was just a matter of oversight on their part.
24 But, collectively, Your Honor, this was very early in

25 the process. It was an inadvertent error and mistake.

 

 

 

 

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1 We would ask, as the plaintiffs’ steering committee,
2 that we be allowed to correct that mistake and
3 substitute the Hayes case for the Blake case. Thank
4 you.
5 THE COURT: Thank you. Ms. Jones?
6 MS. C. JONES: May I be heard just briefly,
7 Your Honor?
8 THE COURT: Yes.
9 MS. C. JONES: Your Honor, we have responded
10 to this request and certainly understand Mr. Gaynor’s
H personal position and would not wish in any way to
W affect that or to make it any worse.
13 In short, I think this is a matter within the

14 discretion of the Court. We filed the objection in

w large part for two reasons. One, because the case

m management order does not, in any way, provide for this
17 type of unilateral substitution.

18 In fact, it provides very clearly that either
w- if the case is settled or may be dismissed in the event
20 that it is first identified. It was about five weeks
m after it had actually been identified as a Bellwether
22 before we were advised of the mistake.

23 In any event, discovery will, to some extent,
24 be delayed if there is a substitution only in order to

25 get whatever medical records and so forth we may have

 

 

 

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to get and follow up with the newly designated
plaintiff.

The real issue, Your Honor, is that going
forward that regard to what Your Honor decides to do
today in terms of the substitution, and l certainly
understand under the circumstances if the Court wishes
to allow the substitution, but going forward,
substitution at a later date is not something that is
contemplated by the case management order.

In fact, the case management order clearly
contemplates dismissal of the case in the event that
the plaintiffs choose not to go forward with it. So,
as much as anything, Your Honor, we think it is
important that we not set a precedent here that allows
unilateral substitution, particularly after discovery
has been done.

THE COURT: Right. Okay. I think that makes
sense. We have three Bellwethers on the plaintiffs‘
steering committee side?

MR. GAYNOR: Yes, Your Honor.

THE COURT: And two on the defense side?

MS. C. JONES: Three.

THE COURT: Okay. And you have each
identified those three. There has been no issue since

they've been identified?

 

 

 

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MR. GAYNOR: Correct.

THE COURT; Okay. All right. Yes, I looked
at your papers. lt seems to me that we're early enough
in the process that there is no dramatic prejudice. I
mean, there certainly is some prejudice in that there
have been efforts to identify documents.

`You all have been working very diligently and
getting to these issues as you need to, so when the
Bellwether cases were identified you began the process
of identifying documents.

I don't think we've gone so far down that
road that there is prejudice through the substitution,
and I certainly think there are legitimate,
understandable reasons for the mistaken designation and
so I will allow the substitution with the understanding
that Ms. Jones' point is very well taken, that we want
to stay with these Bellwether cases and now that we're
in the process of discovery and I don't think there
really is a system here for the unilateral
substitution.

So, let's go forward then with the Estate of
Hayes case substituting for the Estate of Blake case.

MR. GAYNOR: Thank you, Your Honor.

THE COURT: All right. And we will do an

order that confirms that. Thank you for those

 

 

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presentations. Item number three is the request from
defendants for depositions of_plaintiffs in Bellwether
matters. Where are we with these?

MS. C. JONES: Your Honor, I think that's
moot. We now have all of those things.

THE COURT: Okay. Those have been worked
out. Okay. Thank you.

MS. C. JCNES: Yes, Your Honor.

THE COURT: And number four, the MDL cases
subject to a dispositive motion, and that's-based upon
the review of the plaintiff fact sheets. Wants to talk
about that?

MS. C. JONES: Your Honor, l am not sure
frankly it is ripe for action here.

THE COURT: Okay.

MS. C. JONES: lt is more of an advisory type
of situation.

THE COURT: Okay.

MS. C. JONES: We have, in fact, advised
plaintiffs that based upon our review of the fact
sheets and the medical records before plaintiffs it
does not appear that there is a viable claim for one of

various reasons.

What we would like to dor the plaintiffs have

not yet responded to that, but our intent is to move

 

 

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forward with dispositive motions on those matters, so
that we can then begin to limit and streamline this MDL
as to the cases that are and should be in front of it.

No doubt the plaintiffs may wish to ~- they
may concede those issues or they may ultimately wish to
contest them_ We just wanted to advise the Court that
it is our intent to move forward with those motions_

THE COURT: With those motions. Okay. It
seems to me that 80 motions for summary judgment or
motions to -- I guess they would be motions for summary
judgment at this point?

MS. C. JONES: These would be motions for
summary judgment, but I think that we have identified
specifically four to move forward on.

THE coURT= Right. okay. ina : am just
interested in saving some time and paper on your part
and ours. I mean, 1 guess each case would be an
individual case, so you would have to brief it
individually. Unless there is some ~~ I am
contemplating maybe a motion filed and then a response
from the plaintiff as to whether they really contest
that motion.

MS. C. JONES: We would be happy to look at
that, Your Honor, and see if we can do something. We

actually sent the letter to plaintiff's counsel first

 

 

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1 as a courtesy hoping we might be able to work something
2 out,-if they could look at them and then if it is

3 unnecessary to file the motion, we could have a

4 stipulation of dismissal or something.

5 THE COURT: Okay,

6 MS. C. JONES: And 1 think we have not yet

7 responded or plaintiffs have not moved forward to

8 moving on. But, if the Court is amenable to us filing
9 a single motion we can be happy to do that. The only

10 concern I have is that you have individual case numbers

m and I am concerned about the record.
12 THE coURT= night
13 MS. C. JONES: So, we will look to see what

M- we can do to make it easier.

w THE COURT: Probably in those cases where

16 there is going to be a contested motion we should have
17 individual motions and at least, I mean, you can

m incorporate certain sections of the brief in each, 1
m guess, but I think we should probably have separate

20 motions and briefings. Okay.

m MS. C. JONES: Thank you, Your Honor.
22 THE COURT: Thank you. Mr. Berman?

23 MR. BERMAN: Good morningr Your Honor.
24 THE COURT: Good morning.

25 MR. BERMAN: With respect to this issue, the

 

 

 

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1 PSC and the plaintiffs would oppose embarking on some

2 process at this point of time that would permit the

3 defendants to begin filing dispositive motions.

4 Just to back up a bit, the letter that Ms.

5 Jones referred to was an April 7 letter which was sent
5 to us prior to the date on which we were to make our

7 Bellwether selections.

3 In the letter four plaintiffs were identified
9 and without any elaboration the letter stated we have
m reviewed, meaning the defendants, records and indicate
H at best these plaintiffs did not suffer an injury from
12 a 'I`ylenol product. Given the lack of connection to

13 these defendants we requested you voluntarily dismiss
14 these plaintiffs without delay. So, there is no

15 substance in the letter to which we have not responded
16 and it preceded the date on which the Bellwether

17 selections were made.

m Frankly, we thought that if the defendants

m felt that there were strong reasons why these

20 plaintiffs should be dismissed they would have selected
m these plaintiffs as their three choices, so that the

22 plaintiffs could then proceed through CMO-l§, which

23 governs the Bellwether process.

24 The Bellwether process governs the

25 commencement of case specific discovery and the

 

 

 

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l depositions and the selection of -- acquiring of all of
2 the medical records, et cetera.
3 I mean, what we were confronted with the
4 April 7 letter was simply a request, please dismiss
5 these plaintiffs and no other explanation. These
3 plaintiffs did not go through any core discovery and
7 now have not been selected to go through the core
5 discovery by the defendants as their Bellwether
9 plaintiffs.
m The purpose of the Bellwether selection plan

H and the core case specific discovery is to enable all
12 of the parties to develop a full record about the cases
13 that are selected, which in this case are six, so that
14 the parties and the Court will be-better informed as to
m the information about the various cases, whether

m dispositive motions may be appropriate with respect to
17 those specific cases.

13 If you take in the abstract cases that are

19 not going through that discovery and a motion is going
20 to be filed, you know, actually the plaintiffs would be
m responding with a Rule 56(f) affidavit that we haven’t
22 even had any discovery in the cases, we haven't had

23 depositions. They are not part of the Core discovery
%~ that is permitted by CMO~lS.

% If the suggestion is that the defendants have

 

 

 

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1 80 cases of medical records and they now want to file

2 motions or dispositive motions on a great number of

3 those, it is going to be a distraction to the mode that
4 the Court has established for handling the Bellwether

5 cases. We are going to be moving in different tracks

6 at the same time, which is completely contrary to all

7 cases that have adopted a Bellwether process.

8 So, we would encourage the Court not to open
9 sort of this pandora’s box at this time and permit a

10 separate track of cases to proceed on a dispositive

H motion basis where there is no mechanism for any of the
m discovery.

13 We would also oppose opening the discovery to
14 those cases at this point where the Bellwether process
m contemplated the work up of six cases fairly

16 extensively during the period of May 1, which is when
17 core discovery started through August l, 2014, which is
18 I guess approximately four or five months and are six
m cases involved which will involve not only the

20 depositions of the core witnesses, but the Bellwether
m order does permit discovery and depositions of the

22 plaintiff, the spouse, two treating physicians or

23 healthcare providers per side.

24 So, if you take four or five depositions

25 times six plaintiffs we’re looking at a minimal of 24

 

 

 

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1 or 25 depositions occurring over the course of the
2 summer.
3 So, just in sum, the plaintiffs would oppose

4 any modification of the Bellwether order, CMO-l§, to

5 permit some parallel track to work up cases. We would
6 also oppose the filing of dispositive motions on a

7 scant record at this time. Thank you, Your Honor.

8 THE COURT: Yes. Ms. Jones, I think Mr.

9 Berman has a good point, that we’re talking about

w dispositive motions on the basis of the fact sheets,

H and I am just wondering what kinds of issues you would
m identify on those fact sheets or in those medical

W records that would lend themselves to dispositive

w motions?

15 MS. C. JONES: Well, I think first of all,

16 Your Honor, we did not write that letter lightly. My
17 recollection is that there is a failure to show product
m identification in some cases. There is no

19 documentation of liver injury in some cases.

20 I mean I would have to go back and look at
m more specifically the information, but if the

L information that we have suggests that there is no

23 valid claim properly before this Court then certainly
M- we ought not to be forced to go through discovery on

25 those cases.

 

 

 

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1 In fact, in all candor, I am not intending to
2 set up a separate track if you will but, in fact, when
3 Mr. Berman suggests we should have selected these as

4 Bellwether cases suggests to Your Honor that the whole
5 purpose of the Bellwether process is to select

6 plaintiffs who are representative, if you will, of all
7 of the plaintiffs.

6 THE COURT: I agree with that.

9 MS. C. JONES: ~» and, therefore, we would

10 get information. And where we*ve got four plaintiffs

n that we don't believe have a valid claim, whether it is
m because of the statute of limitations or something

m else, most courts, most MDL courts would say it is not
w appropriate to identify those plaintiffs as Bellwether
w plaintiffs because they end up being dismissed after

m great judicial expense and result in delay.

17 So, all l am suggesting is that in those

18 cases that for whatever reason we believe there is no
19 question of fact that has been demonstrated, and maybe
20 the way we can do it is to simply send a more detailed
m letter and response to the plaintiffs that say these

y -are the facts on each one of these individual cases,

23 and if they, in fact, have something that would suggest
24 that we are wrong we don*t file the motion. But, l

25 don't think it is necessary at this point, and we

 

 

 

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l certainly were not contemplating in these cases

2 additional discovery would be necessary.

3 In fact, we wouldn't have asked them to

4 voluntarily dismiss the cases had we thought that was

5 necessary.

5 THE COURT: Okay. So, there are some cases,
? then where with the limited information available to

8 you, these plaintiffs’ fact sheets and some medical

9 records that you have either statute of limitations or
10 product identification or some other clear reason to

h seek their dismissal?

12 MS. C. JONES: That's correct, Your Honor.

13 THE COURT: Okay. All right. What is gained
14 by doing that now and not waiting until later in the

15 case?

U MS. C. JONES: What is gained by doing that
W now is that we then know or begin to identify what the
m proper pool of plaintiffs is in this case, excuse me,

19 this MDL proceeding, and we begin to eliminate those

20 cases who are not properly before the Court.

m THE COURT: All right. Okay. Would it be ~-
22 just trying to think through this, but if you file such
23 a motion would it be a legitimate response from the PSC
24 that there is a need for additional discovery as to

25 this particular plaintiff, whoever that is?

 

 

 

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1 MS. C. JONES: Let me say this, Your Honor.

2 We anticipate that based upon the information that we

3 have there is no genuine issue of material fact.

4 THE COURT: Okay.

5 MS. C] JONES: So, there would be no reason
6 for the plaintiffs to say we need additional discovery.
7 If, in fact -- I mean these are the types of

8 information that you would have expected plaintiffs to
9 have at the time they filed the lawsuit.

10 If, in fact, they have information that we

H don't have, if for example they have some information
12 that's --

13 THE COURT: And that comes out in the

14 response.

l5 MS. C. JONES: lt comes out in the response
10 or they just won’t call us and say Christy, you know,
17 we‘ve got right here in this piece of paper

18 documentation of product ID, I would be glad to send it
m to you, then we won’t file it. That's not -- I am

al not -- I don't want -- I don't want the Court to have
m to go through anything unnecessarily ~~

22 THE COURT: Right.

23 MS. C. JONES: -- nor do l want -- you know,
24 if these are not ironclad cases and the plaintiffs

25 have, in fact, can say to us we have misunderstood or

 

 

 

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we missed some fact or something then, you know, we're
happy either not to file the motion or to withdraw the
motion or to defer it pending additional discovery.

THE COURT: Okay. l think in theory I am
inclined to let that process go forward, to have you
seek dismissal of those cases where on the basis of the
plaintiff fact sheets and medical records you think
that there is no viable claim.

Maybe the thing to do is to, as you
suggested, send a more detailed letter with the reasons
that you would seek the dismissal of those plaintiffs
and see if you can get some agreement as to some of
them.

MS. C. JONES: l would be happy to do that,
Your Honor.

THE COURT: l think the goal of pairing down
the universe of plaintiffs is a good one. I don't see
any reason to wait to do that. Okay.

MS. C. JONES: We would be happy to do that.

THE coURT: ill right.

MS. C. JONES: Thank you, Your Honor.

THE COURT: Thank you, Your Honor.

MR. BERMAN: Your Honor, if I may just
respond one more time on the issue? l understand your

ruling. We do fear a slippery slope being created here

 

 

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and requiring opening up discovery for all of these
cases.

Certainly if there are a very small selection
of cases that Ms. Jones has identified, that she feels
warrants this kind of relief we can take a look at
that.

But, we really do not want to waive that
right subject to CMO~lB, nor any rights with respect to
opposing motions and requesting full discovery, and we
don't want to go on a slippery slope of having to
embark in extensive discovery to deal with these
motions if they're filed.

THE COURT: Well, I don*t hear that this is a
request for additional discovery on cases that the
defense has identified as »~

MR. BERMAN: It is not so much as their
request for discovery, it is what the plaintiffs would
have to do in terms of the discovery they would respond
with in order to oppose the motion.

THE coURT= Right.

MR. BERMAN: So, if the record is scant and
the plaintiffs need to develop a more elaborate record
in order to respond to the motion that becomes the
slippery slope and a dilution of effort and

concentration of how this has been established, Your

 

 

 

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24
1 Honor.

2 Again, I_do go back and I apologize for

3 saying this. The original letter was very ambiguous in
4 saying that the plaintiff did not use or at best did

5 not suffer an injury. And we don't even really know

6 what that means in terms of the request to dismiss the
? four plaintiffs.

8 THE COURT; Well, I think you are going to

9 get some clarification.

10 MR. BERMAN: Yes, Your Honor.

H THE COURT: Okay.

12 (Pause in proceedings.)

13 THE COURT: The next item on the agenda is

14 the status of the Wye (Ph) case.

15 MR. BERMAN: Your Honor, if you recall, the
16 plaintiffs had represented Mr. Wye and the estate of
17 his daughter at a point in time and we had moved for
18 permission to withdraw as counsel, which the Court

19 granted. That was by an order dated January 27, 2014,
20 filed in that specific case which was docket number

m 12-CV-7260 as document number 29.

22 Subsequent to that we offered to try to

23 facilitate a voluntary dismissal of the case for the
M- defendants. Mr. Wye has not been cooperative, has not

25 responded to us. lt is one of the reasons why we have

 

 

 

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1 requested permission to withdraw.

2 So, in terms of the ability for us to

3 facilitate that we have sort of reached the end of the
4 road. We have contacted him about the possibility of

5 this case will be dismissed or a motion will be filed,
6 but we have not gotten any response and there is

7 nothing more that we're really able to do as best as we
8 have tried.

9 THE COURT: Okay. So, what do you suggest at
10 this point?

H MR. BERMAN: I think the defendants wanted

12 permission to file a formal motion to dismiss for

13 failing to provide a fact sheet or maybe on another

14 basis. l am not sure.

w We have tried to convey that to Mr. Wye and
m told him the case is at risk of being dismissed by a

W motion in lieu of doing it voluntarily, but we have no
m cooperation from him and I would suggest that

m defendants take what action they think is appropriate
20 under the circumstances.

m THE COURT: Okay. So, you will file a

22 motion?

m MR. JONES: We would be happy to, Your Honor.
24 THE COURT: Okay. All right. Very good,

25 thank you.

 

 

 

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1 (Pause in proceedings.)
2 THE COURT: Item six is the plaintiffs'
3 steering committee's request for cross-noticing and
4 coordination with respect to expert's depositions.
5 MR. BERMAN: Yes, Your Honor. And I
6 apologize, do you prefer me to be at the podium?
7 THE COURT: You're fine right there.
3 MR. BERMAN: All right. Thank you, very
9 much. As Your Honor is aware, the New Jersey
10 litigation that is ongoing and the plaintiffs have
H recently served expert reports in the New Jersey
12 litigation.
13 In connection with that we drafted a proposed

14 order in New Jersey whereby there would be certain

15 limits on the depositions that the defendants could

m take of the generic experts, such that there would not
17 be a second deposition of the same expert on the same
m issues on which he had been previously deposed and only
19 with respect to any new information that might occur
20 after the trial of the first case.

m We desire to have some coordination with

22 respect to that in terms of the MDL. What I mean by
23 that is if there is going to be a deposition in New

H- Jersey of the generic expert we would like it to be

25 cross-noticed for purposes of the MDL, so that that

 

 

 

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same expert is not deposed a second time on the very
same report in the MDL when we reach the point of
expert disclosures in the MDL.

We haven’t yet reached the point of a
proposed order for that in the MDL and an order has not
yet been entered in New Jersey with respect to these
issues. As I said, there was a proposed order and we
have a red line that was returned to us by Ms. Jones.

We are going to work with her on the red line
for entry in New Jersey, but we wanted to bring to this
Court's attention the idea that we would also like to
have some coordination to cross-notice things, so we
would have the same protection for the experts and not
have them repeatedly deposed from the same report and
only on new information.

THE COURT: Okay. Ms. Jones?

MS. C. JONES: I am not sure to what extent
we have a real disagreement. Let me tell you what the
issue may be.

THE COURT: Okay.

MS. C. JONES: We certainly would agree that
experts who have been cross~examined on a particular
subject ought not to be recross~examined on that same
subject and we are certainly willing to work with

plaintiffs’ counsel on that.

 

 

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1 The issue that is before or that is causing

2 us some problems is that in the case that is set for

3 trial in New Jersey it involves a 14 year old with very
4 specific issues. The generic reports of these experts
5 address issues far beyond that relevant to that

6 individual plaintiff.

7 It is unlikely that those experts will be

8 cross~examined on all of the opinions set forth in

9 their report, because they're simply not relevant to

10 the issues before the court in New Jersey at this time.
H And because we are faced with an early trial
12 setting it obviously is important to restrict that

13 cross~examination of those experts at their deposition
14 to the issues before the Court.

15 THE cOURT; Right.

16 MS. C. JONES: So, to the extent that we

17 address certain issues in those expert depositions, and
18 I am sure the plaintiffs would agree as to ours,

19 generically we don't have any intent to go back and

20 recover plowed ground.

m On the other hand, if for example there are
22 issues that are not relevant in the New Jersey case,

23 such as alcohol for example, or certain labels for

24 example. then if those issues are important in the

25 subsequent MDL cases we would anticipate being able to

 

 

 

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1 cross-examine the expert witnesses on those issues.
2 Not to redo what has been done before.
3 THE cOURT= night
4 MS. C. JONES: But, not to be foreclosed from

5 taking another deposition on the pertinent issues. I
6 think that’s the only real issue that we have.

? THE COURT: Is there one plaintiff going

8 forward in New Jersey?

9 MS. C. JONES: Just one plaintiff.

10 THE COURT: And that's a 14 year old?

H Ms. C. JONES: Yes, Your Honor.

12 THE COURT: Okay. All right. I see your

m point. I think what we would want to avoid here is

14 some duplication in the depositions.

15 MS. C. JONES: I understand that. And we’re
16 certainly in agreement with that on both sides, but

17 what I think is while we may -- while we agree that we
18 would_be foreclosed from recovering the same ground,

19 the fact is that some of their reports address issues
20 that are simply irrelevant in this case, and l don't
m want to be foreclosed and l am sure plaintiffs don't
22 want to be foreclosed from redeposing our experts as to
23 issues that are not explored in the New Jersey

24 litigation.

25 THE COURT: All right.

 

 

 

 

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1 MS. C. JONES; Or that may be more relevant

2 to whatever the Bellwether Cases are before this Court.
3 THE COURT: Okay- I think under those

4 circumstances it is hard to fashion a rule today as to
5 how far you can go in a deposition of an expert

6 somewhere down the road in this case on the basis of

7 what happened in the New Jersey litigation this summer.
B Right? Mr. Berman?

9 MR. BERMAN: Yes. There have been orders

10 addressing this issue in other MDLs, and l have for

H example¢ but it has not yet been shared with Ms. Jones,
12 an order that was entered in the Gatalitti (ph), where
13 Judge Polster (ph) crafted an accommodation for

141 redeposing experts who had already been deposed and

U with limitations on only as to new opinions that are

16 offered and requiring a new written report that may be
W offered to express the new opinions.

18 I guess the concern that we have here is that
19 with the immediacy of the New Jersey case coming to

20 trial we have just provided the dates for the experts
m to be deposed.

22 And for example, one expert is scheduled to
23 be deposed towards the end of this week and there will
24 be other experts who will be discussed next week and

% then the following week.

 

 

 

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1 And we wanted to get on the table that those
2 reports, to the extent they are generic reports, not

3 the case specific reports, that those generic reports

4 are broad reports and the defendants, when they depose
5 those experts on the generic issues, they should not

6 have an opportunity to go back and redepose on the same
7 generic issues at a later date if there is no update to
3 the reports.

9 THE COURT: Can you give me an example of a
m generic issue, what you're talking about?

H MR. BERMAN: The question of the dose of

12 which acetaminophen causes acute liver failure. If an
13 expert expresses an opinion, a certain gram dosage and
14 that is in their generic report, there is an

15 opportunity to depose, it is clearly on paper in that
U report that the defendant can question the expert about
17 that opinion.

18 Why should the expert be subject to another
W deposition later on if he never changes his opinion via
Il a subsequent or updated report.

m THE COURT: All right.

22 MR. BERMAN: l mean, there is generic issues
23 relating to the adequacy of the labeling, the language
24 of the warning, the type of marketing that was done.

25 .All of these have been expressed thus far in generic

 

 

 

 

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1 reports by the plaintiffs and those reports have four

2 corners to them and the experts shouldn't be deposed a
3 second time with the four corner report.

4 THE COURT: What is the product involved in

5 the New Jersey case?

6 MR. BERMAN: I believe it is a Tylenol Extra
7 Strength product, Your Honor, the Tylenol Extra

3 Strength, the 500 milligram.

9 THE COURT: Okay.

10 MR. BERMAN: But, if I may say, the reports
H do not necessarily confine themselves to discussing

12 only Tylenol Extra Strength. They do talk more broadly
w about other kinds of Tylenol products.

14 MS. C. JONES: And therein lies the issue,

m Your Honor, because these reports deal with issues that
16 are not at issue in the pyles (ph) case in New Jersey.
17 THE COURT: Right.

13 MS. C. JONES: For example, they deal with

w alcohol or they deal with labels other than the one

20 that is applicable there. There is no reason at this
m point in time for us to cross~examine the witnesses on
22 all of those extraneous opinions here.

23 THE COURT: It seems to me if we look towards
24 some, you know, you ask it now or you are precluded

25 from asking it later or you take the deposition now and

 

 

 

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1 you are precluded from asking questions, generic

2 questions of the expert later, that you're really

3 promoting a very long deposition of an expert in a case
4 involving one plaintiff and one product, right?

5 I mean, it seems to me that that forces the

6 defendant to expand the scope of the deposition beyond
7 what they really need for this trial.

8 MR. BERMAN: Wellr the reports again, as l

9 said, have four corners to them, Your Honor, and the

10 witnesses, the expert witnesses may testify, as I

H understand them, under New Jersey law, to what's in

m their reports.

13 And, you know, they may be subject to a

14 relevancy objection at the time of trial, but the

15 reports are written to be the generic reports to be

m utilized not only in that one case, but any subsequent
17 cases that may be tried in New Jersey as well as in the
13 MDL. And with the time constraint of preparing those
19 reports for the New Jersey trial they’ve had to

al necessarily be comprehensive.

m THE COURT: What has Judge Higbee done with
22 the possible use of the depositions for the upcoming

23 trial in relation to other pending New Jersey cases?

24 MR. BERMAN: l don't believe she has actually

25 addressed that yet, Your Honor. And Mr. Buchanan, who

 

 

 

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1 cannot speak right now, may be able to shed light when
2 we open the line later. But, l don't believe she has

3 addressed that.

4 MS. C. JONES: She has not addressed that,

5 Your Honor. Frankly, if the plaintiffs* position is as
6 just stated, you’re right, the depositions will be much
7 longer. It is unlikely that sufficient time has been

8 set aside for those depositions today and it is

9 unlikely that we will be able to finish those in time
10 for the July trial.

m So, that is a matter that would have to be

12 raised with the Court if that is going to be their

13 position.

14 THE COURT: Right. l mean, I think what

15 you’re asking me to do is allow cross~noticing of the
16 depositions in New Jersey for this case, right?

17 MR. BERMAN: Yes, Your Honor.

m THE COURT: Okay. And if we do that, then I
19 think l am really expanding the scope of the deposition
20 taken in the New Jersey case for use in this case some
m time later, and I think that intrudes a bit on the New
22 Jersey litigation.

23 But, I am not inclined to allow the

24 cross-noticing. Well, maybe I am using the wrong

25 terminology. I certainly think going back to where we

 

 

 

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1 were ten minutes_ago, I think if ground is covered in

2 the New Jersey case adequately it ought not to be gone
3 into again a year or two or three from now in this

4 case. Right?

5 MR. BERMAN: Well, I think that is one

6 concern we don't believe that there should be a

7 redeposition of the same questions and issues that are
8 adequately --

9 THE COURT: I don’t think Ms. Jones is

10 disagreeing with that.

H MS. C. JONES: I agree with that, Your Honor.
12 THE COURT: Okay.
13 MS. C. JONES: lt is just that if, for

14 example, we don't cover certain issues that aren't

15 relevant to the New Jersey case I don't want to be

16 foreclosed about coming back and cross€examining the

17 witness on that later where they are relevant to the

18 MDL case.

19 THE COURT: Right. l agree with that. So, l
al think you can cross-notice them to the extent that what
m is gone into in the New Jersey deposition can be used
22 in this case, but I don’t think that limits the scope
23 of what they can ask later on of the same expert in

24 this case.

25 Okay. I think that is just something we will

 

 

 

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1 have to take up at a later time. Really, if there is

2 an expert that is going to be deposed in this case who
3 was deposed in the New Jersey case, then we have to

4 talk about the scope of that deposition if you can't

5 agree to it.

5 MS. SHERRY: Your Honor, Madeline Sherry

7 for ~-

8 THE COURT: Yes?

9 MS. SHERRY: May l be heard on this issue?
19 THE COURT: Sure.

H MS. SHERRY: We're not a party to the

12 litigation in New Jersey. We haven’t been served with
m any of the expert reports. We haven't seen the notice
14 of deposition. We're not planning to participate. We
15 would like to preserve our rights with respect to the
m MDL and be given the opportunity to cross-examine these
17 generic experts if and when the time comes for the

18 cases in which we're involved.

m THE COURT: Okay. l think that makes sense.
20 MR. GOODMAN: Your Honor, Brandon Goodman for
M Paragon. Paragon joins fully in the position expressed

22 by Ms. Sherry on behalf of ~~
23 THE COURT: Okay. Thank you. I think that
M- takes care of all of the items except for item one.

25 This is the agenda item whose name shall not be

 

 

 

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1 mentioned. So, we have to adjust the set here and

2 invite our side table Counsel to leave. Thank you very
3 much for being here.

4 ALL: Thank you, Your Honor.

5 THE COURT: And are we terminating this call
6 and then recalling back, to be redundant.

7 MR. BERMAN: Yes, Your Honor. l think the

8 process we established was to terminate this call and

9 we provided a new call in number that will permit Mr.

10 Buchanan and Mr. Weinkowitz to be able to participate

m through the telephone.

12 THE COURT: Okay.

13 MR. BERMAN: They would be the only two

14 people participating.

15 THE COURT: Okay. So, let’s terminate this
16 call and we will get them back on the line. Thank you.
17 Do we need a five minute break, folks, do you want to
13 take a break? We can do that.

19 MS. C. JONES: I don’t think this -- I don't

20 think our hearing itself will take more than ten

m minutes.
22 THE COURT: Okay. Stay put then.
23 (The sealed and impounded portion of the

M` transcript was not requested to be transcribed.)

25 (The proceedings concluded at 11:06 a.m.)

 

 

 

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CERTIFICATION

 

I, Brad Anders, do hereby certify that the
foregoing is a true and correct transcript from the
electronic sound recordings of the proceedings in the

above~captioned matter.

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ate Brad Anders/

 

 

